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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      )
IN RE: NONJUDICIAL FORFEITURE                         )
PROCEEDING                                            )       MBD No. 16-mc-91318-FDS
                                                      )

                             ORDER EXTENDING THE TIME
                        TO FILE CIVIL FORFEITURE COMPLAINT


       WHEREAS, Jose Villanueva-Baez, and Nora Baez (the “Claimants”) have filed a claim

to the following property in a nonjudicial civil forfeiture proceeding with the United States Drug

Enforcement Administration (“DEA”):

       a.      $40,390 in United States currency seized on or about April 29, 2016 in Lawrence,
               Massachusetts (the “Currency”);

       WHEREAS, the United States and Gregg S. Taravan, Esquire, as counsel for the

Claimants (collectively, the “Parties”), previously agreed, as provided in 18 U.S.C.

§ 983(a)(3)(A), to extend the time in which the United States is required to file a complaint for

forfeiture against the Currency alleging the Currency is subject to forfeiture;

       WHEREAS, the Parties have jointly moved for a further extension of time in which the

United States is required to file a complaint for forfeiture against the Currency alleging the

Currency is subject to forfeiture;

       WHEREAS, the United States, having represented to the Court that the DEA sent notice

of its intent to forfeit the Currency as required by 18 U.S.C. § 983(a)(1)(A), that no other person

has filed a claim to the Currency as required by law in the nonjudicial civil forfeiture

proceedings, and that the time within which to file such claims has expired; and

       WHEREAS, the Court is authorized by 18 U.S.C. § 983(a)(3)(A) to extend the time in

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which the United States is required to file a complaint for forfeiture against the Currency

alleging that the Currency is subject to forfeiture based upon agreement of the Parties or for good

cause shown;

       ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

       Pursuant to 18 U.S.C. ' 983(A)-(C), that the date by which the United States is required

to file a complaint for forfeiture against the Currency alleging that the Currency is subject to

forfeiture is extended to January 31, 2017.



                                                         /s/ F. Dennis Saylor
                                                      ___________________________________
                                                      F. DENNIS SAYLOR, IV
        12/14/2016                                    United States District Judge
Date:___________________________




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